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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA

             v.                                               19-CR-227
                                                              23-CR-37
PETER GERACE, JR.,

                    Defendant.
_____________________________________

             NOTICE OF MOTION FOR FORFEITURE OF PROPERTY

       PLEASE TAKE NOTICE, the United States of America, by its attorney, Michael

DiGiacomo, United States Attorney for the Western District of New York, Elizabeth M.

Palma, Assistant United States Attorney, of counsel, respectfully moves this Court pursuant

to Rule 32.2(b) of the Federal Rules of Criminal Procedure, Title 18, United States Code,

Section 1594(d)(1), and Title 21, United States Code, Section 853(a)(2), for a Preliminary

Order of Forfeiture. In support of this motion, the United States submits a Memorandum of

Law.

Dated: May 28, 2025,
       Buffalo, New York
                                                 MICHAEL DIGIACOMO
                                                 United States Attorney
                                                 Western District of New York

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